Case 2:21-cv-04405-RGK-MAR Document 71-19 Filed 08/26/21 Page 1 of 4 Page ID #:995




                             Exhibit




                                   Exhibit K
                                      88
 Case 2:21-cv-04405-RGK-MAR Document 71-19 Filed 08/26/21 Page 2 of 4 Page ID #:996




 1   TRACY L. WILKISON
     Acting United States Attorney
 2   SCOTT M. GARRINGER
     Assistant United States Attorney
 3   Chief, Criminal Division
     ANDREW BROWN (Cal. Bar No. 172009)
 4   VICTOR A. RODGERS (Cal. Bar No. 101281)
     MAXWELL COLL (Cal. Bar No. 312651)
 5   Assistant United States Attorneys
     Major Frauds/Asset Forfeiture/
 6   General Crimes Sections
           1100/1400/1200 United States Courthouse
 7         312 North Spring Street
           Los Angeles, California 90012
 8         Telephone: (213) 894-0102/2569/1785
           Facsimile: (213) 894-6269/0142/0141
 9         E-mail: Andrew.Brown@usdoj.gov
                   Victor.Rodgers@usdoj.gov
10                 Maxwell.Coll@usdoj.gov
11   Attorneys for Defendants
     UNITED STATES OF AMERICA, et al.
12
13                             UNITED STATES DISTRICT COURT
14                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
15                                    WESTERN DIVISION
16   PAUL SNITKO, JENNIFER SNITKO,                 No. 2:21-CV-4405-RGK-MAR
     JOSEPH RUIZ, TYLER GOTHIER,
17   JENI VERDON-PEARSONS,                         DEFENDANTS UNITED STATES OF
     MICHAEL STORC, AND TRAVIS                     AMERICA         RESPONSE TO
18   MAY,                                          PLAINTIFF FIRST REQUEST FOR
                                                   ADMISSIONS RELATED TO CLASS
19               Plaintiffs,                       CERTIFICATION
20                      v.
21   UNITED STATES OF AMERICA, ET
     AL.,
22
23               Defendants.
24
25         Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure, Defendants
26   United States of America, Tracy L. Wilkison, in her official capacity as Acting United
27   States Attorney for the Central District of California, and Kristi Koons Johnson, in her
28   official capacity as an Assistant Director of the Federal Bureau of Investigation
                                         Exhibit K
                                            89
 Case 2:21-cv-04405-RGK-MAR Document 71-19 Filed 08/26/21 Page 3 of 4 Page ID #:997




 1   (collectively, Defendants , by their attorneys, submit their
 2   First Request for Admissions Related to Class Certification propounded on Defendants.
 3   REQUEST FOR ADMISSION NO. 1:
 4         Admit that the federal government has in its possession an inventory reflecting the
 5   contents of all of the safe deposit boxes held at U.S. Private Vaults at the time of the
 6   March 2021 seizure.
 7   RESPONSE TO REQUEST FOR ADMISSION NO. 1:
 8         Defendants object to this Request on the ground that proceeding with civil
 9   discovery in this case will adversely affect the ability of the government to conduct
10   related criminal investigations or the prosecution of related criminal cases. Defendants
11   further object the term              is vague and ambiguous. Defendants object to the
12   Request as vague and ambiguous with respect to whether it addresses a single inventory
13   or multiple inventories.
14         Subject to the foregoing objections, the government responds as follows:
15         Deny.
16   REQUEST FOR ADMISSION NO. 2:
17         Admit that the federal government has in its possession one or more videotapes
18   showing the search of the contents of the U.S. Private Vaults safe deposit boxes and that
19   these videotape(s) depict the contents of the boxes.
20   RESPONSE TO REQUEST FOR ADMISSION NO. 2:
21         Defendants object to this Request on the ground that proceeding with civil
22   discovery in this case will adversely affect the ability of the government to conduct
23   related criminal investigations or the prosecution of related criminal cases. Defendants
24   further object to the extent that this Request seeks information protected by the
25   attorney-client privilege or work product doctrine. Defendants object to the terms
26                                                      .
27         Subject to the foregoing objections, the government responds as follows:
28         Admit.
                                          Exhibit2 K
                                             90
 Case 2:21-cv-04405-RGK-MAR Document 71-19 Filed 08/26/21 Page 4 of 4 Page ID #:998




 1   REQUEST FOR ADMISSION NO. 3:
 2         Admit that, in the course of producing the videotape(s) referenced in the foregoing
 3   Request for Admission, government agents held documents contained in the boxes up to
 4   the camera, with the result that the contents of those documents are captured in the
 5   videotape.
 6   RESPONSE TO REQUEST FOR ADMISSION NO. 3:
 7         Defendants object to this Request on the ground that proceeding with civil
 8   discovery in this case will adversely affect the ability of the government to conduct
 9   related criminal investigations or the prosecution of related criminal cases. Defendants
10   further object to the extent that this Request seeks information protected by the
11   attorney-
12
13   request as vague and ambiguous because it is not targeted to specific videos. Defendants
14   object to the Request as compound.
15         Subject to the foregoing objections, the government responds as follows:
16         Admit with respect to one or more of the videotapes, consistent with the terms of
17   the search warrant.
18   Dated: August 20, 2021                        Respectfully submitted,
19                                                 TRACY L. WILKISON
                                                   Acting United States Attorney
20                                                 SCOTT M. GARRINGER
                                                   Assistant United States Attorney
21                                                 Chief, Criminal Division
22                                                       /s/             ______________
                                                   ANDREW BROWN
23                                                 VICTOR A. RODGERS
                                                   MAXWELL COLL
24                                                 Assistant United States Attorneys
25                                                 Attorneys for Defendants
                                                   UNITED STATES OF AMERICA, et al.
26
27
28
                                          Exhibit3 K
                                             91
